   3:20-cv-01797-JMC-PJG           Date Filed 06/25/20      Entry Number 14         Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION

Daniel Wilkes,                        )                 Civil Action No. 3:20-cv-01797-JMC
                                      )
                         Plaintiff,   )
                                      )
       v.                             )                                 ORDER
                                      )
State of Richland County; Richland CO )
Probation,                            )
                                      )
                         Defendants.  )
                                      )

       Plaintiff Daniel Wilkes filed this civil rights action in the United States District Court for

the District of Western Pennsylvania. Wilkes v. State of Richland Cty., C/A No.: 1:20-cv-91-RAL

(W.D. Pa. Apr. 17, 2020). At the time he filed this matter, Plaintiff was an inmate at SCI Albion

of the Pennsylvania Department of Corrections in Albion, Pennsylvania. The Western District of

Pennsylvania transferred this matter to this court on May 7, 2020. (ECF No. 4.) By order issued

May 19, 2020, this court provided Plaintiff an opportunity to submit the documents necessary to

bring the case into proper form for evaluation and possible service of process. (ECF No. 9.)

However, Plaintiff did not receive the order, as it was returned to the court as undeliverable mail,

indicating that Plaintiff “maxed out” of prison on May 25, 2020. (ECF No. 11.) Plaintiff has not

provided the court with a new address at which he receives mail, and the records of this court and

the Western District of Pennsylvania indicate no attempt by Plaintiff to contact the courts since he

filed a motion to transfer the case (to this court) in the Western District of Pennsylvania on May

29, 2020, twenty-two (21) days after the case had already been transferred. Consequently, the

court finds that Plaintiff has failed to prosecute this case. Therefore, the case is DISMISSED

WITHOUT PREJUDICE pursuant to Rule 41 of the Federal Rules of Civil Procedure. See Link



                                                 1
   3:20-cv-01797-JMC-PJG          Date Filed 06/25/20      Entry Number 14        Page 2 of 2




v. Wabash R.R. Co., 370 U.S. 626, 633 (1962).

       IT IS SO ORDERED.




                                                              United States District Judge


June 25, 2020
Columbia, South Carolina

                             NOTICE OF RIGHT TO APPEAL

       The parties are hereby notified of the right to appeal this Order within the time period set

forth under Rules 3 and 4 of the Federal Rules of Appellate Procedure.




                                                2
